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                       Exhibit 5
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Case COMP/39437 - TV and computer monitor tubes

Commission Decision of 5 December 2012

No public version available

As DG Competition and the companies involved are in the process of establishing a version of the decision
that does not contain any business secrets or other confidential information, no public version of this text
is available for the time being. DG Competition is trying to settle this issue as soon as possible with a view
to a quick publication. You are therefore invited to check the present section of DG Competition’s website
regularly in order to remain aware of any further developments.
